Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 1 of 12 PageID #:9




                   Exhibit A
Hearing Date: 4/2/2024 9:30 AM                                                                   FILED
Location: Court Room Case:
                      2301   1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 2 of 12 PageID #:10
                                                                                                 12/1/2023 6:30 PM
Judge: Quish, Clare J                                                                            IRIS Y. MARTINEZ
                                                                                        12-Person Jury                                  CIRCUIT CLERK
                                                                                                                                        COOK COUNTY, IL
                                                                                                                                        2023CH09788
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                               Calendar, 14
                                                                COUNTY DEPARTMENT, CHANCERY DIVISION                                    25432007
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                                WILLIAM PIECUCH, individually and             )
                                                on behalf of similarly situated               )
                                                individuals,                                  )
                                                                                              )
                                                        Plaintiff,                            )          No.2023CH09788
                                                                                              )
                                                                        v.                    )          Hon.
                                                                                              )
                                                DELTA AIR LINES, INC., a Delaware             )
                                                corporation,                                  )
                                                                                              )
                                                        Defendant.                            )
                                                                                              )

                                                                 CLASS ACTION COMPLAINT & JURY DEMAND

                                                     Plaintiff William Piecuch (“Plaintiff”), individually and on behalf of other similarly

                                             situated individuals, brings this Class Action Complaint against Defendant Delta Air Lines, Inc.

                                             (“Delta Airlines” or “Defendant”) for its violations of the Illinois Genetic Information Privacy

                                             Act, 410 ILCS 513/1, et seq. (“GIPA”), and to obtain redress for persons injured by its conduct.

                                             Plaintiff alleges the following based on personal knowledge as to Plaintiff’s own experiences,

                                             and as to all other matters, upon information and belief, including an investigation conducted by

                                             Plaintiff’s attorneys.

                                                                                    INTRODUCTION

                                                   1.       This case concerns the misuse of individuals’ genetic information in Illinois by one

                                            of the largest operators of an international commercial airline. As a condition of employment,

                                            Defendant requires potential employees to undergo a rigorous application process, including phone

                                            conversations with Delta Airlines’ recruiters and physical exams, during which genetic

                                            information in the form of their family medical history is requested.



                                                                                             1
                                                Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 3 of 12 PageID #:11




                                                   2.      Having recognized the uniquely private and sensitive nature of genetic information

                                            – and the potential for harmful discrimination that such information may encourage among
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                            employers – the Illinois General Assembly enacted GIPA in part to regulate employers’ use of

                                            such genetic information. In addition to its baseline protections of individuals’ genetic information,

                                            GIPA specifically provides that an employer, employment agency, labor organization, or licensing

                                            agency shall not directly or indirectly do any of the following:

                                                           (1) solicit, request, require or purchase genetic testing or genetic
                                                               information of a person or family member of the person, or administer
                                                               a genetic test to a person or a family member of the person as a condition
                                                               of employment, preemployment application, labor organization
                                                               membership, or licensure;

                                                           (2) Affect the terms, conditions, or privileges of employment,
                                                               preemployment application, labor organization membership, or
                                                               licensure of any person because of genetic testing or genetic information
                                                               with respect to the employee or family member, or information about a
                                                               request for or the receipt of genetic testing by such employee or family
                                                               member of such employee;

                                                           (3) Limit, segregate, or classify employees in any way that would deprive
                                                               or tend to deprive any employee of employment opportunities or
                                                               otherwise adversely affect the status of the employee as an employee
                                                               because of genetic testing or genetic information with respect to the
                                                               employee or a family member, or information about a request for, or the
                                                               receipt of genetic testing or genetic information by such employee or
                                                               family member of such employee; and

                                                           (4) Retaliate through discharge or in any other manner against any person
                                                               alleging a violation of this Act or participating in any manner in a
                                                               proceeding under this Act.

                                                               410 ILCS 513/25(c)

                                                   3.      GIPA defines “genetic information” as information pertaining to: (i) an individual’s

                                            genetic tests; (ii) the genetic tests of family members of the individual; (iii) the manifestation of a

                                            disease or disorder in family members of such individual; or (iv) any request for, or receipt of,




                                                                                              2
                                                   Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 4 of 12 PageID #:12




                                            genetic services, or participation in clinical research which includes genetic services, by the

                                            individual or any family member of the individual.1
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                                      4.      Genetic information, including familial health history, is a uniquely private and

                                            sensitive form of personal information. The genetic information contained therein reveals a trove

                                            of intimate information about that person’s health, family, and innate characteristics.

                                                      5.      In requiring prospective employees, such as Plaintiff, to disclose their family

                                            medical histories, Defendant has violated Plaintiff’s and the other putative Class members’

                                            statutory right to genetic privacy.

                                                      6.      In enacting GIPA, the Illinois Legislature recognized that “[d]espite existing laws,

                                            regulations, and professional standards which require or promote voluntary and confidential use

                                            of genetic testing information, many members of the public are deterred from seeking genetic

                                            testing because of fear that test results will be disclosed without consent in a manner not permitted

                                            by law or will be used in a discriminatory manner.” See 410 ILCS 513/5(2).

                                                      7.      GIPA bestows a right to privacy in one’s genetic information and a right to prevent

                                            the solicitation of, collection, or disclosure of such information without one’s consent.

                                                      8.      Despite GIPA’s prohibition against soliciting family medical information

                                            concerning familial diseases and disorders, Defendant continues to request that its employees and

                                            prospective employees provide protected familial medical history in violation of GIPA.

                                                      9.      Plaintiff brings this action for statutory damages and other remedies as a result of

                                            Defendant’s conduct in violating Plaintiff’s Illinois genetic privacy rights.

                                                      10.     On Plaintiff’s own behalf, and on behalf of the proposed Class defined below,

                                            Plaintiff seeks an injunction requiring Defendant to comply with GIPA, as well as an award of



                                            1
                                                410 ILCS 513/10, by reference to 45 C.F.R. § 160.103.
                                                                                                 3
                                                Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 5 of 12 PageID #:13




                                            statutory damages under GIPA, to the Class members, together with costs and reasonable attorneys’

                                            fees.
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                                                                          PARTIES

                                                    11.      Defendant Delta Air Lines, Inc. is a corporation organized under the laws of the

                                            state of Delaware that conducts substantial business throughout Illinois, including in Cook County,

                                            and is registered with the Illinois Secretary of State to transact business in Illinois.

                                                    12.      At all relevant times, Plaintiff William Piecuch has been a resident of the state of

                                            Illinois.

                                                                              JURISDICTION AND VENUE

                                                    13.      This Court may assert personal jurisdiction over Defendant pursuant to 735 ILCS

                                            5/2-209 in accordance with the Illinois Constitution and the Constitution of the United States

                                            because Defendant is doing business within this state, and because Plaintiff’s claims arise out of

                                            Defendant’s unlawful in-state actions, as Defendant directly or indirectly solicited, requested,

                                            required, or purchased genetic information of its job applicants as a condition of applicants’

                                            employment or preemployment application in Illinois.

                                                    14.      Venue is proper in Cook County because Defendant is doing business in Cook

                                            County and thus resides there under 735 ILCS § 5/2-102(a).

                                                                            COMMON FACTUAL ALLEGATIONS

                                                    15.      The genomic revolution of recent decades has brought with it great advancements

                                            in biological sciences and medicine. Modern genomic technologies allow individuals to gather

                                            genealogical information about themselves and their relatives, to discover their genetic

                                            predisposition for diseases before any symptoms manifest, and in some cases to prevent and treat

                                            such diseases.



                                                                                               4
                                                Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 6 of 12 PageID #:14




                                                   16.     These and other benefits of genomic science have coincided with a rapid decline in

                                            the cost of genetic testing. Since the turn of the 21st century, the cost of collecting and analyzing
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                            a complete individual human genome has fallen from more than $100,000,000 in 2001 to less than

                                            $1,000 in 2022.2 Despite the benefits to science and health care that could be gained from increased

                                            access to genetic testing, the Centers for Disease Control expressed counterbalancing concerns

                                            related to genetic privacy as early as 1996.3

                                                   17.     As recognized by the CDC and the Illinois Legislature, progress in the field of

                                            genomics does not come without risk, and as the benefits and accessibility of genetic testing have

                                            grown so too has the potential for abuse and discrimination. To address these and other concerns

                                            related to misusing genetic information, Illinois and other states regulate the collection, use, and

                                            disclosure of such information.

                                                   18.     In 1998, the Illinois General Assembly enacted the Genetic Information Privacy

                                            Act, 410 ILCS 513/1 et seq. out of recognition that people’s genetic information could be used for

                                            discriminatory purposes, one of the most harmful of which would occur in the context of

                                            employment.

                                                   19.     Accordingly, GIPA prohibits an employer from directly or indirectly soliciting,

                                            requesting, requiring or purchasing the genetic testing or genetic information of a person or family

                                            member of a person as a condition of employment, preemployment application, labor organization

                                            membership, or licensure. 410 ILCS 513/25(c)(1).

                                                   20.     GIPA defines an employer, in relevant part, as “every [] person employing

                                            employees within the state.”



                                            2
                                             https://www.genome.gov/about-genomics/fact-sheets/DNA-Sequencing-Costs-Data
                                            3
                                             Board on Biology National Research Council. Privacy Issues in Biomedical and Clinical Research:
                                            Proceedings of Forum on November 1, 1997 (Washington D.C., National Academy Press, 1997) 1.
                                                                                             5
                                                Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 7 of 12 PageID #:15




                                                     21.   Defendant is an “employer” as defined by GIPA.

                                                     22.   Defendant operates a major airline known as Delta Airlines, one of the largest
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                            airline companies in the airline industry, operating a global fleet of aircraft. Defendant employs at

                                            least one hundred individuals in Illinois, including in Chicago, Illinois, where Plaintiff applied for

                                            a job with the Defendant.

                                                     23.   As part of its hiring process, Defendant requires its prospective employees to

                                            undergo an application process and physical exams during which various medical questions are

                                            asked.

                                                     24.   Defendant’s medical questions include the solicitation of information regarding the

                                            manifestation of diseases in family members of the prospective employee.

                                                     25.   Defendant thus violated GIPA by soliciting and obtaining Plaintiff’s and the Class’s

                                            genetic information as a precondition of employment or as part of their preemployment

                                            application.

                                                                          FACTS SPECIFIC TO PLAINTIFF

                                                     26.   In or around December of 2021, Plaintiff William Piecuch applied for a job with

                                            Defendant for a Cargo Agent position in Chicago, Illinois.

                                                     27.   As part of the application and hiring process, and as a precondition of employment,

                                            Defendant required Plaintiff to undergo a phone interview with Defendant’s Talent Acquisition

                                            team. During the phone interview, Plaintiff was required to answer various medical questions over

                                            the phone.

                                                     28.   Specifically, Defendant required Plaintiff to answer questions concerning his

                                            family medical history, i.e. the manifestation of diseases or disorders in his family members. Such




                                                                                              6
                                                Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 8 of 12 PageID #:16




                                            questions included whether Plaintiff’s family members had a history of diabetes and heart disease,

                                            as well as other medical conditions.
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                                    29.     In response, Plaintiff disclosed his genetic information, including diseases and

                                            disorders with which his family members have been or have not been diagnosed. Defendant

                                            documented Plaintiff’s answers and collected the same.

                                                    30.     Thus, Plaintiff’s sensitive genetic information was solicited by and obtained by

                                            Defendant during the preemployment application process and as a condition of his employment.

                                                    31.     By requiring Plaintiff to answer questions about his family medical history,

                                            Defendant directly or indirectly solicited, requested, purchased and/or required Plaintiff to disclose

                                            his genetic information in violation of GIPA.

                                                                           CLASS ACTION ALLEGATIONS

                                                    32.     Plaintiff brings this action on behalf of himself and similarly situated individuals

                                            pursuant to 735 ILCS § 5/2-801. Plaintiff seeks to represent a Class defined as follows:

                                                            All individuals who, while in Illinois, applied for employment with
                                                            Defendant and from whom Defendant, or an agent acting on behalf
                                                            of Defendant, has requested and/or obtained family medical history
                                                            or other genetic information according to Defendant’s records
                                                            within the applicable limitations period.

                                                    33.     Excluded from the Class are any members of the judiciary assigned to preside over

                                            this matter; any officer or director of Defendant; and any immediate family member of such

                                            officers or directors.

                                                    34.     Upon information and belief, there are at least one hundred of members of the Class,

                                            making the members of the Class so numerous that joinder of all members is impracticable.

                                            Although the exact number of members of the Class is currently unknown to Plaintiff, the members

                                            can be easily identified through Defendant’s records.



                                                                                              7
                                                Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 9 of 12 PageID #:17




                                                   35.     Plaintiff’s claims are typical of the claims of the members of the Class Plaintiff

                                            seeks to represent, because the factual and legal bases of Defendant’s liability to Plaintiff and the
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                            other members of the Class are the same, and because Defendant’s conduct has resulted in similar

                                            violations to Plaintiff and to the Class. As alleged herein, Plaintiff and the Class have all been

                                            aggrieved by Defendant’s GIPA violations.

                                                   36.     There are many questions of law and fact common to the claims of Plaintiff and the

                                            Class, and those questions predominate over any questions that may affect individual members.

                                            Common questions for the Class include, but are not limited to, the following:

                                                           a.    Whether Defendant’s conduct is subject to GIPA;

                                                           b.    Whether Defendant directly or indirectly solicited Plaintiff’s and the other

                                                                 Class members’genetic information as a condition of employment or through

                                                                 their preemployment application in violation of 410 ILCS 513/25(c)(1);

                                                           c.    Whether Defendant’s violations of GIPA were negligent;

                                                           d.    Whether Defendant’s violations of GIPA were reckless or intentional; and

                                                           e.    Whether Plaintiff and the Class are entitled to damages and injunctive relief.

                                                   37.     Absent a class action, most members of the Class would find the cost of litigating

                                            their claims to be prohibitively expensive and would thus have no effective remedy. The class

                                            treatment of common questions of law and fact is superior to multiple individual actions in that it

                                            conserves the resources of the courts and the litigants and promotes consistency of adjudication.

                                                   38.     Plaintiff will adequately represent and protect the interests of the members of the

                                            Class. Plaintiff has retained counsel with substantial experience in prosecuting complex litigation

                                            and class actions. Plaintiff and Plaintiff’s counsel are committed to vigorously prosecuting this

                                            action on behalf of the other members of the Class and have the financial resources to do so.



                                                                                             8
                                               Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 10 of 12 PageID #:18




                                            Neither Plaintiff nor Plaintiff’s counsel have any interest adverse to those of the other members of

                                            the Class.
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                                   39.     Defendant has acted and failed to act on grounds generally applicable to Plaintiff

                                            and the other members of the Class, requiring the Court’s imposition of uniform relief to ensure

                                            compatible standards of conduct toward the members of the Class and making injunctive or

                                            corresponding declaratory relief appropriate for the Class as a whole.

                                                                                       COUNT I
                                                  Violation of the Illinois Genetic Information Privacy Act, 410 ILCS 513/1, et seq.
                                                                         (On behalf of Plaintiff and the Class)

                                                   40.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                                                   41.     Defendant is a company that employs individuals within the state of Illinois and

                                            therefore meets the definition of an “employer” under GIPA. 410 ILCS 513/10.

                                                   42.     GIPA defines “genetic information” by reference to HIPAA as specified in 45

                                            C.F.R. § 160.103 to include the manifestation of a disease or disorder in family members of an

                                            individual.

                                                   43.     Under GIPA, an employer shall not directly or indirectly solicit, request, require or

                                            purchase genetic information of a person or a family member of the person as a condition of

                                            employment or as part of any preemployment application. 410 ILCS 513/25(c)(1).

                                                   44.     As a precondition of their employment with Defendant, Plaintiff and the Class were

                                            required to undergo a rigorous application process, including telephonic interviews and/or physical

                                            exams, during which Defendant required them to answer questions regarding their family medical

                                            history, i.e. the manifestation of a disease or disorder in family members. In other words,

                                            Defendant directly or indirectly solicited, requested, purchased and required Plaintiff and the

                                            members of the Class to disclose their genetic information.



                                                                                              9
                                               Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 11 of 12 PageID #:19




                                                    45.      Plaintiff and the Class also provided accompanying personal identifying

                                            information, including their full names, home addresses, date of birth, Social Security information
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                            and gender to Defendant as part of their employment application process they underwent.

                                                    46.      The information obtained from Plaintiff and the Class by Defendant is the type of

                                            information protected by GIPA. 410 ILCS 513/10.

                                                    47.      Plaintiff and the other Class members have been aggrieved by Defendant’s above

                                            violations of their statutorily protected rights to privacy in their genetic information as set forth in

                                            GIPA.

                                                    48.      GIPA provides for statutory damages of $15,000 for each reckless or intentional

                                            violation of GIPA and, alternatively, damages of $2,500 for each negligent violation of GIPA. 410

                                            ILCS 513/40(a)(3).

                                                    49.      Defendant’s violations of GIPA, a statute that has been in effect since 1998, were

                                            knowing and willful, or were at least in reckless disregard of the statutory requirements.

                                            Alternatively, Defendant negligently failed to comply with GIPA.

                                                    50.      Accordingly, Plaintiff, individually and on behalf of the proposed Class, prays for

                                            the relief set forth below.

                                                                                  PRAYER FOR RELIEF

                                                    WHEREFORE, Plaintiff William Piecuch, individually and on behalf of the proposed

                                            Class, respectfully requests that this Court enter an Order:

                                                          a. Certifying the Class as defined above, appointing Plaintiff as class representative,

                                                             and appointing Plaintiff’s counsel as class counsel;

                                                          b. Declaring that Defendant’s actions, as set forth herein, violate GIPA;

                                                          c. Awarding injunctive and equitable relief as necessary to protect the interests



                                                                                               10
                                               Case: 1:24-cv-00202 Document #: 1-1 Filed: 01/08/24 Page 12 of 12 PageID #:20




                                                           of Plaintiff and the Class by requiring Defendant to comply with GIPA;

                                                       d. Awarding statutory damages of $15,000 for each reckless or intentional violation
FILED DATE: 12/1/2023 6:30 PM 2023CH09788




                                                           of GIPA pursuant to 410 ILCS 513/40(a)(3);

                                                       e. Awarding statutory damages of $2,500 for each negligent violation of GIPA

                                                           pursuant to 410 ILCS 513/40(a)(3);

                                                       f. Awarding reasonable attorneys’ fees, costs, and other litigation expenses

                                                           pursuant to 410 ILCS 513/40(a)(3);

                                                       g. Awarding pre- and post-judgment interest, as allowable by law; and

                                                       h. Such further and other relief the Court deems reasonable and just.

                                                                                     JURY DEMAND

                                                   Plaintiff requests trial by jury of all claims that can be so tried.

                                            Dated: December 1, 2023                                Respectfully submitted,

                                                                                                   WILLIAM PIECUCH, individually and on
                                                                                                   behalf of similarly situated individuals,

                                                                                           By:     /s/ Andrew T. Heldut
                                                                                                   One of Plaintiff’s Attorneys
                                             Timothy P. Kingsbury
                                             Andrew T. Heldut
                                             Joseph Dunklin
                                             MCGUIRE LAW, P.C. (Firm ID: 56618)
                                             55 W. Wacker Drive, 9th Fl.
                                             Chicago, IL 60601
                                             Tel: (312) 893-7002
                                             tkingsbury@mcgpc.com
                                             aheldut@mcgpc.com
                                             jdunklin@mcgpc.com

                                            Attorneys for Plaintiff and the Putative Class




                                                                                              11
